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                                                             March 19, 2019

  The Honorable Raymond J. Dearie
  Senior United States District Court Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

                        RE: USA v. Vladislav Khalupsky, 15-CR-381 (RJD)
  Your Honor:

         This is to request that the Court sign the enclosed order exonerating Mr. Khalupsky’s
  bond and permitting the return of cash money and property securing the bond.

         The government has no objection to this request.

         Mr. Khalupsky surrendered to the Bureau of Prisons for service of surrender on March 11,
  2019, as ordered.

                                                             Respectfully submitted,


                                                             Mildred M. Whalen
                                                             Staff Attorney
                                                             (718) 330-1290

  cc:    Assistant U.S. Attorney Julia Nestor, Esq., via email and ECF
         Assistant U.S. Attorney Richard Tucker, Esq., via email and ECF
         Assistant U.S. Attorney David Gopstein, Esq., via email and ECF
         ECF
